      Case 6:21-cv-00043-ADA-JCM Document 18 Filed 02/19/21 Page 1 of 2
AO 440 (Rev. 06/12) Summons in a Civil Action



                                UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF TEXAS

LATINOS FOR TRUMP, ET AL.,
Plaintiff


         V.                                                      Civil Action
                                                                 No. 6:21−CV−00043−ADA−JCM

PETE SESSIONS, ET AL.,
Defendant



                                                SUMMONS IN A CIVIL ACTION

TO: Ashley Hoff
       U.S. Attorneys Office, Western District of Texas
       800 Franklin Avenue, Suite 280
       Waco, Texas 76701

   A lawsuit has been filed against you.

    Within 21 days after service of this summons on you (not counting the day you received it) −− or 60 days
if you are the United States or a United States Agency, or an office or employee of the United States described
in Fed. R. Civ. P. 12 (a)(2) or (3) −− you must serve on the plaintiff an answer to the attached complaint or a
motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the
plaintiff or plaintiff`s attorney, whose name and address are:


                                   Paul M. Davis
                                   Paul M. Davis & Associates, P.C.
                                   3245 Main St.
                                   Suite 235−329
                                   Frisco, TX 75034

  If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




   JEANNETTE J. CLACK
  CLERK OF COURT
   s/AKEITA MICHAEL
  DEPUTY CLERK
                                                                       ISSUED ON 2021−02−19 07:41:46
      Case 6:21-cv-00043-ADA-JCM Document 18 Filed 02/19/21 Page 2 of 2
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 6:21−CV−00043−ADA−JCM

                                              PROOF OF SERVICE
              (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(1))

     This summons for(name of individual and title, if any)_____________________________________
was received by me on(date)________________.

        I personally served the summons on the individual at (place)_______________________________
        _______________________________________________on (date)___________________; or

        I left the summons at the individual's resident or usual place of abode with(name)______________
        ________________________________, a person of suitable age and discretion who resides there,
        on (date)_______________________, and mailed a copy to the individual's last known address; or

        I served the summons on(name of individual)___________________________________, who is
        designated by law to accept service of process on behalf of(name of organization)_____________
        __________________________________________________ on(date)________________; or

        I returned the summons unexecuted because _______________________________________; or

        Other (specify):________________________________________________________________
        ___________________________________________________________________________
        ___________________________________________________________________________

My fees are $_____________ for travel and $_____________ for services, for a total of $____________.

I declare under penalty that this information is true.

Date: ________________                                    _______________________________________
                                                                              Server's signature


                                                          _______________________________________
                                                                            Printed name and title



                                                          _______________________________________
                                                                               Server's Address

Additional information regarding attempted sevice, etc:
_________________________________________________________________________________
_________________________________________________________________________________
